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PREE'I_` BHARARA
United States Attorney for the
Southern District of NeW York
By: ANDREW E. KRAUSE
Assistant United States Attorney
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New York, NeW York 10007
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

X \ _ ~_..
l`N RE: : DECLARATION GF

‘ ANDREW E. KRAUSE
LETTER ROGATORY FOR :
INTERNATIONAL IUDICIAL ' : 14 Misc.

ASSISTANCE FROM THE SUPERIOR
COURT OF IUSTICE OF l\/[EXICO

CITY, FEDERAL DISTRICT FAMILY .
COURT; MATTER OF FRANCIS HENRY :
MARIE DE SMEDT V. BARBARA '
PHILIPPA CLARE DAY.

 

X

I, Andrew E. Krause, pursuant to 28 U.S.C. § 1746, declare as follows:

 

l. l am an Assistant United States Attorney in the Office of the United States

Attorney for the Southern District of NeW York, counsel for the United States of America (the

“Government”). l make this declaration upon information and belief based upon the attached

exhibits and communications With personnel in the United States Department of Justice, to which

a letter rogatory has been transmitted for execution l make this declaration in support of the

Governrnent’s request, pursuant to 28 U.S.C. §1782(a),1 for an order appointing me as

 

1 Section 1782(a) provides, in pertinent part, as follows:

The district court of the district in Which a person resides or
is found may order him to give his testimony or statement or to
produce a document or other thing for use in a proceeding in a

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Commissioner for the purpose of obtaining information nom th'e legal representative of David
Zwirner Gallery (the "‘Gallery”).

2. In connection With a proceeding captioned “Francis Henry Marie de
Smedt v. Barbara Philippa Clare Day,” pending in the Superior Court of Justice of l\/lexico City,
Federal District Family Court (the “Mexican Court”), the Mexican Court issued a letter rogatory
seeking information nom the Gallery. A true and correct copy of the letter rogatory is attached
hereto as Exhibit A.

3. An undated draft of a subpoena addressed to the David Zwirner lGallery,
Attention: Managing Director, 525 West 19th Street, NeW York, NeW York 1001 l, Which the
Governrnent intends to serve upon my appointment as Commissioner, is attached hereto as
Exhibit B.

4. To assist the Mexican Court in obtaining the requested information, l
respectfully request that this Court appoint me as Commissioner as proposed in the EX Parte

Order attached hereto as Exhibit C. No previous application for the relief sought herein has been

 

foreign or international tribunal, including criminal investigations
conducted before formal accusation The order may be made
pursuant to a letter rogatory issued, or request made, by a‘foreign
or international tribunal or upon the application of any interested
person and may direct that the testimony or statement be given, or
the document or other thing be produced, before a person
appointed by the court. By virtue of his appointment, the person
appointed has power to administer any necessary oath and take the
testimony or statement The order may prescribe the practice and
procedure, Which may be in Whole or part the practice and
procedure of the foreign country or the international tribunal, for
taking the testimony or statement or producing the document or
other thjng. To the extent that the order does not prescribe
otherwise, the testimony or statement shall be taken, and the
document or other thing produced, in accordance With the Federal
Rules of Civil Procedure.

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made.

l declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and belief.
WHEREFORE, the United States respectfully requests that this Court enter the
attached Order.

Dated: New York, New York
August 301 , 2014

darin/imm

ANDREW E. KRAUSE
Assistant _United States Attorney

 

m .
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Exhibit A

 

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Trolns|otlon from Sgcnlsh
SUPERIOR COURT OF JUSTICE

OF MEXlCO CI'IY, FEDERA[_ DlSTRlCT
' ’judiciary City and Cons¢jlidntion ofUrdI proceedings For Order and Social Peace"'

LETTER RUGA TORY

|, MR. ERNESTD VlLLARREAL TELLEZ, CONClLlATOR OF THE F|RST FANllLY COURT lN AND FOR
MEXlCO CITY, FEDERAL DlSTRlCT, TO THE COMPETENT AUTHOR|TY lN THE UNlTED STATES OF
AMER|CA, TO WHOM l HAVE THE HONOR TO ADDRESS BY MEANS OF TH|S LETI`ER ROGATORY:

HEREBY DECLARE

THAT lN THE COURT RECORDS OF THE ORDlNARY ClVlL CASE, D|VORCE (|NC|DENT TO
PROVlSlONAL lNCREASE OF ALlNlONY, DECREE OF AL||V|ONY AND PAYMENT OF AL|NIONY DUE
SINCE JUNE 2011) F|LED BY NIARIE DE SMEDT FRANC|S HENRY AGA|NST BARBARA PHlL|PPA
CLARE DAY, CASE F|LE NUMBER 1391/2009`, lT WAS ORDERED TO DlRECT THlS LE`ITER |N
ORDER THAT OFFlCIAL NDT!CE BE SENT TO THE LEGAL REPRESENTAT|VE _OF THE ART GALLERY
”DAV|D ZW|RNER GALLERY" LOCATED ON 525 WEST 19TH STREET, 533 WEST 19TH STREET, NEW
YORK, UN|TED STATES OF AMER|CA.

[inked stamp bearing the I\/lexican National Coat of Arms that reads: Superior Court of lustice of
the Federal District, Flrst Family Court] -

THE ABOVE BASED UPON THE FOLLOW|NG DOCUMENTS:
REQUEST|NG JUDIC|AL AUTHOR|TY~
HON. F|RST FANT|LY COURT JUDGE OF THE SUPER|OR COURT OF JUSTlCE lN AND FOR MEXICO '

CITY, FEDERAL D|STRlC|', LOCATED ON AVENlDA JUAREZ NUN|ERO 8, TERCER PlSO, COLONlA

CENTRO, DELEGACION CUAUHTENIDC, CéDlGO POSTAL 06010, CIUDAD DE lVlEXlCO, D|STRITO
FEDERAL.

 

_ REcElleG AuTHomTY
u..s DEPARTMENT oF JusrlcE clvlL mvlslow, oFFlcE oF lNTERNAnoN/\L JuolclAL
AsslsTANcE, LocATED oN 11006 L. sTRx-:Er N..w RooM_ 11005,WASH1NGT0N o. c. 20530
uNlTED sTATEs oF AMEch

lDENTlTY OF THE PART|ES

 

MS. BARBARA PH|L|PPA CLARE DAY lN HER CAPAC|TY AS PLAINTIFF lN THE PRESENT INCIDENT,
WHOSE LEGAL ADDRESS |S LOCATED ON CALLE SUDERMAN 131, COLONIA POLANCO,
DELEGAC!ON MlGUEL HlDALGO, CP 11570, lN MEX|CO ClTY, FEDERAL DlSTRlCl'.

Mr. FRANC|S HENRY MARIE DE SMEDT lN HIS CAPAC|TY AS RESPONDENT lN THE PRESENT
lNClDENT, WHOSE ADDRESS |S LOCATED GN AVEN|DA PASEOS DE LAS PALMAS NUMERO 731,

DESPACHOS 701 Y 702, COLONlA LOMAS DE CHAPULTEPEC, DELEGAC|GN MlGUEL HlDALGO, CP
11000, lN MEX|CO CITY, FEDERAL DlSTR|CT

LEC OLlVlA CARDBNAS L
PERlTo TRADuCroR Aui]oRlz.Ar)o
PoR EL H. rmBuNAL suPERk)R,
on lustch orr o.F.

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NATURE, PURPOSE AND GENERAL EXPl.ANATORY PREAMBLE TO THE lNClDENT

PROCEEDING: ORD|NARY ClVlL, DlVORCE

n' ls REQuEsTEu on THE PART oF Ms. BARBARA PHIL|PFA cLARE DAY To sc~:RvE No'ncE To
THE LEGAL REPRESENTATNE oF THE ART GALLERY "oAvxo szNER GALLERY" LocATEo on
525 wEsT 19“* sTREET, 533 wEsT 19“* sTREET, NEW Yom<, uN\TED sTATEs oF AMEch To
__gaov_lpg_ lNFoRMATloN n= lN THE PERloD FRoM 2007 To 2011 THEY HAVE EXHlBlTED THE
wom<s oF THE ARTlsT FRANc\s ALYs, AND, lF THlS ls THE cAsE, wacH woRKs, wHAT wAs
THE vALuE APPRAlsEn FoR EACH oF THE wom<s Elea\TED, sPEchleG THE DATE oF sALE
AND THE PmcE FAID FoR THE sAME AND THE AMouNT oF THE ouANTlTlEs oR EARMNGS
THAT HAVE BEEN oruvraso aro Misr£a ramos ALYS and/er ramos HENRY MAR:E us
slvu~:or oR n= THERE ARE Wom<s To BE PAn) and/or PEND\NG PAYMENT To THE ARTIST FoR
THE sALE oF ms wom<.
Acrs To BE cARmED our

 

The court ruling dated February thirteenth of two~thousand twelve, in Which it was ordered to
respectfully forward a LET[ER ROGATDRY TO THE COMPETENT AUTHORl'IY lN THE UNlTED
STATES OF AN|ER|CA, 50 THAT lT WOULD SERVE NOT|CE TD THE LEGAL REPRESENTAT|VE (_JF
THE ART GALLERY ”DAVlD ZWlRNER GALLERY” LOCATED ON 525 WEST 19TH STREET, 533 WEST
19m STREET, NEW YDRK, UNlTED STATES OF AMERlCA TO PROVlDE lNFGRNlATlON lF lN THE
PERlOD FRON| 2007 TO 2011 THEY HAVE EXHlBlTED THE WORKS DF THE ARTlST FRANC|S ALYS,
AND, lF THlS lS THE CASE, WHlCH WORKS, WHAT WAS THE VALUE APPRA|SED FOR EACH OF
THE WOR`KS EXHlBlTED, SPEClFYlNG THE DATE DF SALE AND THE 'PRlCE PAlD FDR THE SAN|E
AND THE AMOUNT DF THE QUANT|TlES DR EARNlNGS THAT HAVE BEEN DELIVERED TO lVllSTER
FRANCIS ALYS and/or FRANC|S HENRY lVlARlE DE SMEDT OR lF THERE ARE WORKS TC BE PA|D
' and/or PENDlNG PAYMENTTO THE ART|ST FOR THE SALE OF HlS WORK.

ADDRESS TO SERVE NOT|CE TO THE LEGAL REPRESENTAT!VE OF THE ART GALLERY ”DAVlD

ZW|RNER GALLERY”I 525 WEST 19TH STREET, 533 WEST 19TH STREET, NEW YORK, UNlTED
STATES OF AMER|CA

COURT RULlNG TO BE SERVED TO THE LEGAL REPRESENTAT|VE OF THE ART GALLERY ”DAV|D
ZW|RNER GALLER "

111 Mexico City, Federal Distric't, being thirteen hundred hours of the menty~fom~th of January
of two-thousand thirteen, day and time indicated in order for the continuation of the incidental
hearing in the proceedings for the DIVORCE filed by MARIE DE SMEDT FRANCIS HENRY
AGAD\TST BARBARA PH]LIPPA CLARE DAY (]NCIDENT TO PROVISIONAL
INCREASE OF ALIMONY, DECREE OF AL]lVlONY AND PAYMENT OF AL]MONY
DUE SINCE IUNE 2011) should take place before the Honorable First Faniily Court ludge of
the Federal Distn'ct, MASTER OF LAW TECFEO ABDO KURI before Court Clerk “A” Ms.
LETIClA MUJICA CASTILLO, appearing the Legal Representative of the incidental plaintiff
GABR[ELA URIEGAS RUIZ who identifies herself with professional license number 3338424
issued on her behalf by the General Division of Professions of the Ministly of Public Education,

LIC. OLlVlA CARDENAS L.
PeRlTo TRAouCroR AQuToRxZADo
Poa EL H. ralBUNAL summon

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and noting that the respondent nor any other person in representation of the respondent appears
THE HON. JUDGE DECLARES THE HEAR]NG TO BE OPEN. Taking into consideration
that the official documents issued by the l\/linistry of Foreign Affairs appearing on pages 78 to 121
and the brief submitted by the incidental respondent on the past twenty-first of January (pages
126 and 127) were incorporated into VOLUl\/[E l]l of the divorce case flle, its detailing is hereby
ordered in order to be incorporated into the lncident to which it corresponds, ordering that the case
file of the records for which the detailing be corrected, as well as the seal of the same-THE
CLERK HAS RECEIVED three instruments submitted on the twenty-second of January by the
Legal Representative of the incidental plaintiff which are resolved as follows: 1. For the record,
the brief by'tlié plaintiff who submits to the hearing ordered in the ruling of the lifteenth of this
year, attending to the declarations made and the records of the proceedings inform the incidental
respondent that the suppression of the documentary evidence related in the briefs presented the
twenty~first day of the current year is denied provided that it be observed that said proceedings
have not issued a decree whereby the admission of the documentary evidence be decreed against
him, for the reasons mentioned in consequence it is hereby ruled in favor of the request made by
the petitioner, ordering the reissue of the respectful letter rogatory to the Competent ludge of the
United States of America through the proper diplomatic channels, making the clarifications
requested within the brief provided, letter rogatory that shall become available once the
notification herein provided takes eH`ect so that it may be duly served, granting the term of TEN
DAYS in order to accredit its service, warned that in the event said term is not met, that the
evidence shall not be admitted for lack of legal interest ~-»~ 2.~ For the record, the brief by the
plaintiff who submits to the hearing ordered in the ruling of the fifteenth of this year, attending to
the declarations made and the records of the proceedings, inform the incidental respondent that the
suppression of the documentary evidence related in the briefs presented the twenty-first day of the
current year is denied, provided that it be observed that said proceedings have not issued a decree
whereby the admission of the documentary evidence be decreed against him, for the reasons `
mentioned, in consequence it is hereby ruled in favor of the request made by the petitioner,
ordering the reissue of the respectful letter rogatory to the Competent ludge of ZURICH,
SWTI`ZERLAND through the proper diplomatic channels, making the clarifications requested
within the brief provided, letter rogatory that shall become available once the notification herein
provided takes effect so that it may be duly served, granting the term of TEN DAYS in order to
accredit its service, warned that in the event said term is not met, that the evidence shall not be
admitted for lack of legal interest - 3- F or the record, the brief by the plaintiff who submits to the
hearing ordered in the ruling of the £fteenth of this year, attending to the declarations made and
the records of the proceedings inform the incidental respondent that the suppression of the
documentary evidence related in the briefs presented the twenty~lirst day of the current year is
denied, provided that it be observed that said proceedings have not issued a decree whereby the
admission of the documentary evidence be decreed against him, for the reasons mentioned in
consequence it is hereby ruled in favor of the request made by the petitioner, ordering the reissue
of the respectlill letter rogatory to the Competent ludge of London, England through the proper
diplomatic channels, making the claritications requested within the brief provided letter rogatory
that shall become available once the notiiication herein provided takes effect so that it may be
duly served, granting the term of TEN DAYS in order to accredit its service, warned that in the
event said tennis not met, that the evidence shall not be admitted for lack of legal interest ~-~ 4-

LlC. €)LlVlA CARDENAS L.
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Gl`VEN the state of the proceedings to the brief presented by the representative of the incidental

respondent it is hereby resolved as follows: Tell the plaintiff that she must be informed of the
preceding proceedings.-Taking into consideration that evidence remains to be Hled, thishearing is
deferred and for its continuation TWELVE O’ CLOCK OF THE FIRST DAY OF APRlL OF THE
YEAR rwo~rHoUsANn trainmen is indicated~_tus dale being get m consideration arise
work load of this Court, the above supported by analogy by the legal opinion sustained by the
Supreme Court of lustice of the Nat:ion, under the heading: HEARINGS, DELAYED COURT
DATE OF appearing on page 2638, 5th Series, Record No. 327991`, Instance: Second Chamber,
Volume LXIX of the F ederal ludiciary Weekly that states Complaint is unfounded in the event
` that "th`e` Distiict ludge has indicated the date for a constitutional hearing thirty days after'the
admission of the complaint because while it is true that pursuant to article 147 of the Amparo
La'w, this must be set within the stated term, it is also true that said precept must be understood in
working terms in keeping with the difficulties that in practice may present themselves insofar as
given the many transactions processed in the F ederal Courts, it is not humanly possible to observe
the law in all its details therefore if the court date is made outside the aforementioned term, it may
not be said that it violates the law, nor does it justify that that delayed assignation be considered
fraud or partiality on the part of the judge..». ” pinion that this ludge makes his own, for all legal
intents and purposes With which this proceeding was adjourned being thirteen hundred hours and
forty five minutes of the date in which it is formalized and signed by those who participated in
addition to the Hon. ludge and Court Clerk “A” who witnesses authorizes and attests. ldo hereby
certify.

` ~~~~~~~~ sIGNATUnns -------

l\/lEXlCO'ClTY, FEDERAL DlSTRlCT, FEBRUARY THIRTEENTH OF THE YEAR TWO~THOUSAND TWELVE.

With the brief in question form the corresponding case tile. The appearance of BARBARA PHILIPPA
CLARE DAY on her own behalf is recognized by this court in order to file for a PROVlSlONAL lNCREASE
OF ALll\/IONY, DECREE OF ALll\/|ONY AND PAYMENT OF ALll\/lONY DUE SlNCE lUNE 2011 for
proceedings based on articles 88 and 94 of the Civil Procedure Code. Wlth uncertified copies
exhibited and through PERSONAL NOT|F|CAT|ON serve a copy to l\/lR FRANClSC HENRY MAR|E DE
SMEDT in order that in the term of THREE DAYS he may submit his response The evidence submitted
is admitted 50 that the incidental Hearing may take place at TEN O' CLQ§K A.Nl. GN THE
SEVENTEEl'H OF APRlL OF THlS YEAR date indicated in consideration of theiwork load of this
Court, the above supported by analogy by the legal opinion sustained by the Supreme Court of
lustice of the Nation, under the heading: HEAR|NGS, DELAYED COURT DATE OF appearing on
page 2538, Sth Series, Record No. 327991, lnstance: Secoad Chamber, Volume l_XlX of the Federal
ludiciary Weekly that states: Complaint is unfounded in the event that the Dist;rlct ludge has
indicated the date for a constitutional hearing thirty days after the admission of the complaint,
because while it is true that pursuant to article 147 of the Amparo LaW, this must be set Within
the stated term, lt is also true that said precept must be understood in vvorklng terms, in keeping
With the difficulties that in practice may present themselves insofar as given the many
transactions processed in the Federal Courts, it is not humanly possible to observe the law in all
its details therefore if the court date is made outside the aforementioned term, it may not be
said that it violates the law, nor does it justify that that delayed assignation be considered fraud
or partiality on the part of the judge...” opinion that this ludge makes his own, for all legal intents
and purposes . ln preparation for the enquiry, SUl\/|MON Mr. FRANC|SC HENRY MARlE DE SMEDT
BY .lUDlClAL BULLETlN so that he may appear before this court on the day and time indicated to

LlC. OLlVlA CARDENAS l...

F‘ERlTO TRADUCTOR AU`[ADRIZAD=".`-
POR EL H. TRIBUNAL SUPERlOR

ne Jusrrci/t net n.F.M

 

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respond to the allegations that may be directed to him, advising him that should he not appear
without just cause, such absence shall be considered an admission of those allegations provided
these are demonstrated and deemed legal under the terms set forth in articles 309 and'§ZZ o"f
the Civil Procedure Code. ln preparation of the documentary evidence marked With numbers 11
and 111 kindly forward official notification to THE DIRECTOR OF THE PUBL|C PROPERTY AND
COMMERCE REG|STRY OF THE FEDERAL DlSTRlCT and the CHA|RMAN OF THE NATlONAL
BANKING AND SECUR|TIES COl\/ll\/HSSION, in order that they may notify this court within the term
of FlVE DAYS that requested by the petitioner, advising them that should they fail to do so, as a
first measure ofjudgment a sanction shall be imposed for the equivalent of THREE THOUSAND
Fl\{E,HUNDRED PESOS, as set forth in articles 61, 52 and 73 of the Code of Civil Procedures.
Furthermore and in preparation of the documentary evidence requested under item L) with the
annexes and attachments necessary, respectfully forward the LElTER ROGATORY to HON
CONSULS OF MEX|CO lN NEW YORK, UNlTED STATES OF AMER|CA, LONDON, ENGLAND, AND
ZURlCH, SWlTZERLAND so that in assistance of the work of this court they respectfully forward
the official documents to the locations requested by the petitioner in order that they provide the
information requested by the same. Let it be known»That so ruled and signs the Hon. First Family
Court Judge in the presence of the Court Clerk Who Witnesses, authorizes and attests----
slGNATuREs

 

AND SO THAT MY DRDER lS CARRlED OUT DULY AND EXACTLY lN THE NAME OF NATlONAL
SOVERE|GN'IY AND l\/lY OWN, l RESPECTFULLY REQUEST THAT AS SOON AS THlS LETTER
ROGATORY |S RECE|VED, AND F|ND|NG lT lN COMPLlANCE WITH THE l.AW, THAT YOU SHALL SEE
THAT lT lS FORWARDED iN ALL lTS TERl\/l$, ASSURED OF REClPROClTY ON MY PART FOR
ASSISTANCE lN ANALOGOUS CASES. lSSUED ll\l l\/lEXlCO CiTY, FEDERAL DISTRICT, ON THE FlFTH
DAY OF THE MONTH OF JANUARY OF THE YEAR TWO THOUSAN»D AND THlRTEEN.- l HEREBY
ATTEST AND CERT|FY.

THE HON. CONClLlATDR OF THE

F|RST FAMlLY COURT

MEX|CD CiTY, FEDERAL DlSTRlCT

(PURSUANT TO GENERAL RESOLUT|ON 38-41/2012)

[lllegibl`e signature]
MR. ERN EsTo vlLLARREAL TELLEz
count cLEnK ”A"
[illegible signature]
NlS. LETlClA MUJ|CA CASTlLLO

[partially legible seal stamped on the right margin that bears the i\/lexican National Coat of Arms
and reads: FlRST FAl\/llLY CDURT]

' rAi</Ra w
LiC. GLl'\/IA CARDENA§ i_
PERITO TRADUCTOR A§JTOR!ZAD"
POR EL H, TRIBUNAL SUP`ERIGF
DE .lUSTlClA DEL D.F.

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EXPERT TRANSLAToR DULY AuTHoRleo BY THE suPRElvie couRT oF
JusTicE oF` MEXICO ciTY, FEDERA‘L olsTRicT, THROUGH lTs BoLETi/v
"'JUD`/""`ci/it`(coui§r JOURNAL) Nu/v/BER 130 PuBLlSHEo oN JuLY 13, zoii,
rrElvi 21 oF THE sPANisH~ENGLlsH orrlciAL EXPERT TRANSLATORS
Lisr, no HEREBY cERTlFY THAT,‘ to THE east or-' iviY KNowLEoe.E,
AeiLiTY AND uNoERsTANDlNG, THE ATTAcHEo TRANSLArloN is A TRuE,
coRR'EcT AND cowiPLETE TRANSLATioN lNTo ENGLisH coNsisTiNG oF,
___§__ PAGES or "rHE oRiGiNAL oo`curviENTs lN s`PAleH ALso

ATTACHED HERETO.

cERTlHEDON Feir)ruam\ \2;… f Z)Oi:%

OLWEAAF.

PER!TO TRADUCTOR AUT()RlZAl)(l
POR EL H. TRIBUNAL SUPERK}R ‘
DE IUSTICIA DEL D.F.

 

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-' SUPERIGR '"
DE J USTICIA
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fa jim cZ's<>c~z'a[ n

cARTA RoGAToR/A.---

EL` LlCENClADO ERNESTO VlLLARREAL TELLEZ, C. SECRETARIO
CONClLlADOR DEL JUZGADO PRllVlERO DE LO FANllLlAR DEL
DlSTRlTO FEDERAL, A USTED AUTORIDAD COlVlPETENTE EN
ESTADGS UNlDOS DE NORTEAMERICA A QUlEN TENGO EL HONOR
‘ DE DlRlGlRNlE N|ED|ANTE ESTA RGGATOR|A -------- . -----------
--------------- .-.~--~-HAGO SABER. -~~-.-~~~.- ~--~-.~----
QUE EN LOS AleOS DEL JUlClO ORDINAR|O ClVlL, DlVORClO
(lNClDENTE DE AUMENTO DE PENSlON ALllVlENTlClA PROVlSl_ON_AL,
DECRETO DE PENS|ON Y PAGO DE PENSlONES NO PAGADAS
DESDE JUNlO DE 2011) PRON|OVIDO POR MARlE DE SMEDT FRANClS
HENRY EN CONTRA DE BARBARA PHlLlPPA CLARE DAY,
EXPED|ENTE NUlVlERO 1391/2009, SE ORDENO DlRlGlR ESTA PARA
LOS EFECTOS DE QUE GlRE OFlC|O AL REPRESENTANT.E LEGAL E
LA GALERlA DE ARTE “DAVlD ZW|RNER GAL`LERY” CON DO ' '
EN 525 WEST 19th STREET, 533 WEST 19 th STREET, NE
UNlTED STATES GF ANlERlCA (ESTADOS UN|
NORTEAMERICA). , ' ‘

 
 
 
    

LO ANTERIOR EN BASE A LAS SlGLllENTES CONSTAN_C|AS: ~

AuToRlvo REQuiRENTE ' 'ZGADO Pl`, i"~F:~ '
~ ELO FAl\'ilLl,llll'?
c JuEz PanlERo DE Lo FAMiLlAR o'EL TRiBuNAL suPERioR DE
JusTiciA DEL oiSTRiTo FEDERAL, coN oolvilclLio EN AvENioA
JuAREz NuMERo ocHo, TERCER Piso coLoNiA cENTRo,
DELEGAcloN cuAuHTEn/ioc, coolc.o PosTAL 06010 EN LA ciquo
oE MExico oisTRiTo FEDERAL.

AuToRivo REQuERioA

U.S. DEPARTAlVlENT OF JUSTlCE 'ClVlL DlVlSlON,, OFFlCE OF
lNTERNATlONAL JUDlClAL ASS|STANCE CON DONllClLlO EN 11006 L.
STREET N.W. ROGNl 11006, WASHINGTON D..C 20530, UNlTED
STATES OF AME_.R|CA

lDENTlDAD DE LAS PARTES:

LA C. B`ARBARA PHlLlPPA CLARE DAY EN SU CARACTER DE
ACTORA EN EL PRESENTE lNClDENTE, QU|EN TlENE SU DOl\/llClLlO
LEGAL EN CALLE SUDERMAN 131, COLONlA POLANCO, DELEGAClON
l\/llGUEL HlDALGO, CP 11570, EN MEX|CO DlSTR|TO FEDERAL.

EL C. FRANClS ~HENRY NlARlE DE SMEDT EN SU CARACTER DE
DEl\/lAND/-\DO EN EL PRESENTE lNClDENTE, CON DCl\/llCll_lO EN
AVENlDA PASEOS DE LAS PALl\/lAS NUl\/IERG 731, DESPACHOS 701 Y
702, COLONlA LGl\/lAS DE CHAPULTEPEC, DELEGAClON lVllGUEL

ease 1 14 Wl%/QE§§Q '31= H%EHF“%W yes'fllefcRii£K%/lde Flfi§$?léé, Olo?i§"rano

FEDERAL

NATURALEZA OBJETO Y EXPOSlClON GLOBAL DE lVlOTlVOS DE LA
' lNSTANClA

JUlClO: ORDINARlO ClVlL, DlVORClO.

SE SOLlClTA POR PARTE DE LA C. BARBARA PHlLlPPA CLARE DAY
REQUER|R AL C. REPRESENTANTE LEGAL DE LA GALERlA DE ARTE
“DAV|D ZWlRNER GALLERY” CON DOlVllClLlO EN 525 WEST 19th
STREET, 533 WEST 19 th STREET, NEW YORK, UNlTED STATES OF
ANlERlCA (ESTADOS UNlDOS DE NORTEAlVlERlCA) A EFECTO DE
QUE lNFORlVlE Sl EN EL PER|()DO DE 2007 A 2011 HAN EXHlBlDO
OBRAS DEL ART|STA FRANC|S ALYS, EN SU CASO QUE OBRAS,
CUAL FUE EL VALOR OTQRGADO A CADA UNA DE LAS OBRAS
EXHIBIDAS, S| SE VENDlO ALGUNA DE LAS OBRAS EXHlBlDAS,
ESPEClFlCANDO LA FECHA DE LA VENTA Y EL ~PRECIO PAGADO
POR LA lVllSNlA Y EL llVlPORTE DE LAS CANTlDADES O lNGRESOS
Qlj_§ S§ HAYAN ENTREGADO AL SENOR FRANC|S ALYS ylo FRANClS
~ NBY ARlE DE SMEDT O BlEN Sl EXlSTEN OBRAS POR PAGAR y/o

C :._PENDlENTES A FAVOR DEL ARTlSTA POR VENTA DE

 
 

 

 

” Ml\t':`to"s 'o`é TNSTRuccic')'N`/`x' REAL\zAR`

 

`\`_,,/

_»¢\’El@i]tpldélfecha trace de febrero del dos mi| doce en el cual se ordena girar

BFAQI§RE~QARTA ROGATOR|A a la AUTORlDAD COMPETENTE EN
ES'[ADOS UNlDOS DE NORTEAMERlCA, PARA QUE SE SlRVA
REQUER|R AL C. REPRESENTANTE LEGAL DE LA GALERlA DE ARTE
“DAV|D ZW|RNER GALLERY” CON DONllClLlO EN 525 WEST 19th
STREET, 533 WEST 19 th STREET, NEW YORK, UNlTED STATES OF
AMER|CA (ESTADOS UNlDOS DE NORTEAlVlERlCA) A EFECTO DE
QUE lNFORME Sl EN EL PERlODO DE 2007 A 2011 HAN EXHlBlDO
OBRAS DEL ART|ST_A FRANC|S ALYS, EN SU CASO QUE OBRAS,
CUAL FUE EL VALCR OTORGADO A CADA UNA DE LAS OBRAS
EXHlBlDAS, Sl SE VENDIO ALGUNA DE LAS OBRAS E_XHlBlDAS,
ESPEC|F|CANDO LA FECHA DE LA VENTA Y EL PRECIO PAGADC)
POR LA MlSlVlA Y EL IMPORTE DE LAS CANT\DADES 0 lNGRESOS

» 'QUE _SE HAYAN ENTREGADO AL SENOR FRAN.C|S ALYS ylo FRANCIS
HENRY lVlARlE DE SMEDT 0 BlEN Sl EXlSTEN OB'RAS POR PAGAR ylo
ADEUDOS PENDlENTES A FAVOR DEL ART|STA POR VENTA DE
OBRA.

DOlVllClLIC PARA REQUER|R AL C. REPRESENTANTE LEGAL DE LA
GALERlA DE ARTE “DAVlD ZWlRNER GALLERY”. 525 WEST 19th
STREET, 533 WEST 19 th STREET NEW YORK UNlTED STATES OF
AMERlCA (ESTADOS UNlDOS DE NORTEAlVlERlCA)

 

AUTOS QUE QRUENAN REQUER|R AL C. REPRESENTANTE LEGAL
DE LA GALER|A DE ARTE “DAVlD ZW|RNER GALLERY.

En la ciudad de México, Distrito Federal, siendo las trace horas del dia
veinticuatro de enero de dos rail trece, dia y hora sex"lalad`os para que tenga

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verilicativo la continuacic')u de la audiencia incidental en los autos del Juicio de
DIVORCIO promovido per MARIE DE SMEDT FRANCIS HENRY EN
CONTRA DE BARBARA PHlLlPPA CLARE DAY (INCIDENTE DE
AUMENTO DE PENSI(')N AL]'_IV[ENTICIA PROVISIONAL DECRETO
DE PENSI(JN Y PAGO DE PENSIONES NO PAGADAS DESDE JUNIO
DE 2011) ante la C. Juez Primero de lo Familiar del Distn'to Federal MAESTRO
TEOFILO ABDO KURI ante la C. Secretaria de Acuerdos “A”, licenciada
LETICIA M[:TJICA CASTILLO, comparece 1a Mandataria Judicial de la parte
actora incidentista GABRIELA UR[EGAS RUIZ quien se identilica con su
cedula profesional numero 3338424 expedida a su favor per la Direccion General
de Profesiones de la Secretan'a de Educacic')n Publica se hace constar que no
compareee la parte demandada incidentista ni persona alguna que legalmente la
represente.- EL C. JU`EZ DECLARA ABIERTA LA AUDIENCIA,-
To'r‘xié'udo"e'fi 'c"€isideiacion que los oticios remitidos por la Secietaria de
relaciones exteriores y que obran a fojas 78 a 121 y el escrito presentado por el
demandado incidentista el ve`mtiuno de enero pasado (foja 126 y 127) theros
integrados en el TOMO lI_[ del cuademo de divorcio se ordena su desglos_e,.para_
ser integrado en el lncidente en el que se actua por corresponder""..'a,.l»"mismo,
ordenaudose corregir el folio de las constancias de las que se ha oi'deiiado§xel.
desglose asi como el entre sello de las mismas.~ LAS SECRETARI"A CUENTA
CON tres escritos presentados el veintidos de enero per la Mauda 1 `¥a\-J§ll_;(licial de
la actora incideutista los que se acuerdan como corresponde: l Q§‘“ ` f.a"i'ltos el
escrito de cuenta de la promovente quien desahoga la vista o d§’,a`aa
quince del actual, atendiendo a las manifestaciones que vie 'eco
de autos, digase a la demandada incidentista que no a lul" ,
prueba's documentales que relaciono en sus escritos prescntado ' ’ - 3
actual, toda vez que se` observa de los autos nose ha emitido, _o dd`§ré“'edonde
se decreta la discrecion de las pruebas documentales 1a sii; not '"` ‘» "` los
motivos que menciona, en conseeuencia se acuerda de confo' EAM! ,ic’)'n
hecha por la ocursan'te y se ordena librar de nueva cuenta atenta carta 'i'ogatoria al
Juez Competente de los Estados Unidos de Norte América por los conductos
diplomaticos debidos debiéndose realizar las precisiones que solicita que
contiene el escrito que Se provee, carta rogatoria que se pone a su disposicién una
vez que Surta efectos de notificacion el presente proveido Para que sea
debidamente diligenciada otorgéndole el te'rmino de DIEZ DIAS para que
acredite su diligenciacion, apercibida que en caso de no hacerlo se le dejara de
recibir la prueba por falta de interés juridico. ------ 2.~ A sus autos el escrito de
cuenta de la promovente quieu desahoga la vista ordenada en auto de quince del
actual, atendiendo a las manifestaciones que vierte y las constancias de autos,
digase a la demandada incidentista que no a lugar a desechar las pruebas
documentales que relacioné en sus escritos presentados el veintiuno del actual,
toda vez que Se observa de los autos no se ha emitido proveido en donde se
decreta la discrecic')n de las pruebas documentales a su contraria por los motives
que menciona, en consecuencia se acuerda de conformidad la peticic')n hecha por
la ocursaute y se ordena librar de nueva cuenta atenta carta rogatoria al Juez
Competente de ZURICH, SUIZA por os conductos diplomaticos debidos
debiéndose realizar las precisiones que Solicita que contiene el escrito que se
provee, carta rogatoria que se pone a su disposicion una vez que surta efectos de
notificacion el presente proveido para que sea debidamente diligenciada
otorgé.ndole el término de DlEZ DlAS para que acredite su diligenciacic’)n,
apercibida que en case de no hacerlo se le dejaré de recibir la prueba por falta de
interés juridico. ------ 3.- A sus autos el escrito de cuenta de la promovente
quien desahoga la vista ordenada en auto de quince del actual, atendiendo a las

   
      
  
   
 

Case 1:14'@§1@&2&9)'1§3§- qtlQQz%ll@§/nla£ eoEHt@§lcQB/@Nailm%s, BU§E: fb¢llefl&Band-ada'
incidentista que no a lugar a desechar las pruebas documentales‘que relacionc') en
sus eseritos presentados el veintiuno del aetual, toda vez que se observa de los
autos no se ha emitido proveido en donde se deereta la discrecion de las pruebas
docmnentales a su contraria per los motives que menciona, en conseeuencia se
aeuerda de conformidad la peticic’)n heeha per la ocursante y se ordena librar de
nueva cuenta atenta carta rogatoria'al luez Competeute de Londres lnglaterra per
los eonductos diplomatieos debidos, debiéndose realizar las preeisiones que
solicita que eontiene el escrito que se provee, carta rogatoria que se pone a su
disposieic’)n una vez que surta efeetos de notificacién el presente proveido para '
que sea debidamente diligeneiada otorgéndole el termino de DlEZ DlAS para
que acredite su diligenciacic')n, apercibida que en ease de no haeerlo se le dejara
de recibir la prueba per falta de interés juridico.~-' ~ ~ ~ - 4.- VISTG el estado. de
-los autos se aeuerda el eserito presentado per la apoderada del demandado
incidentista come sigue: Digase a la promovente que debera estarse al contenido
de los autos que anteceden.- Tomando en eonsideraeic')n que se eneueutran
pruebas pendientes per desahogar se difiere 1a presente audiencia y para su
ee}'itinuacic'>n se seflalan LAS DOCE HGRAS DEL DlA PRll\/IERO DE ABRlL
.DEI§'DQS MlL TRECE.- - ~ misma que se seiala hasta esa feeha atento a la

' _ "‘.'jl`:r_abajo de este luzgado, sirviendo de apoyo a lo anterior per analogla el

v §§ustentado per la Suprema Corte de lustieia de la Nacién, bajo el rubro:

lil';,Z:/I\I_CIA, SENALAMIENTO TARDIO DE LA...”, visible en la pagina

,J

251g §poca, registro 327991, Instancia: Segunda Sala; Tomo LXIX del

   
   
    

 

’ '_Jue;'_z`", de Distrito haya serialado dia para la celebraeic')r_i de la audieneia
c__:::qr'l`sjiti_'l_.eioilal, después de los treinta dias del en que se admite la demanda
" "porque si bien es cierto que eonforme al articqu 147 de la Ley de Amparo, debe
sedala_rse'demré del termino expresado, también es verdad que dieho preeepto
debe eutenderse¢en terminos habiles, armonizandolo con las dichltades que en
la'practiea se presentan, ya que siendo muehos los negocios que se tramita_u en
los Tribunales Federales, .no es posible humanamente que se observe la ley en
todos sus'detalles, de marlera que si se haee ese seialamiento fuera del término
supradicho, no puede deeirse que se viola la ley, nl no se justifiea que ese lejano
serialamiento, obedezca a dole o pareialidad del juez...”; eriterio que éste
Juzgador hace suyo, para todos los efectos legales a que haya lugar.- Con lo que
eoneluyo 1a presente audieneia siendo las treee horas con cuarenta y einco
minutes del dla de la fecha en que se aetua y f\rmando para eonstaneia los que en
ella intervinierou en union del C. luez y C. Secretaria de Aeuerdos “A” que
auton'za y da fe. Doy fe. ---------------------------------------
---------------------- RUBRICAS~------~--------~---

M§XICO, DlSTRlTC FEDERAL A TRECE DE FEBRERO DEL ANO DOS M|L DOCE. - - -

- ~ ~ Ccn el escrito de cuenta fermese el euademo eorrespondierite Se tlene per
presentada a BARBARA PHlLlPPA CLARE DAY per su propio derecho promovlendo
lNClDEj\lTE DE AUMENTO DE PENSlON ALll\/lENTlCl/\ PROVISIONAL, DECRETO DE
PENSlON Y PAGO DE PENSlGNES NO PAGADAS DESDE JUNlO DE 2011, mismo que
se admite a trémlte con fundamento en los articulos 88 y 94 del Cddigo de Procedimlentos
Civlles. Con las copies simples exhlbldas y mediante NOTIF|CAC|ON PERSONAL corrase

 

;~ §`e_l_n/ar:iari`o Ju'di'cial' “de"l'a“l?ed'era'cic')n"que"'diee:"'Es'infunda<_la~~laW queja;-porque~el~~'~~»~~~‘

traslado al C. FRANC|'S"C"HENRY’MAR!E"DE‘SMEDT"p“§r",»§"~q'ué~~en ~e|~»términ~o~-de~ TRES-»~»~~- ~»

DlAS produzcan su contestaclc')n. Se admlten' las pruebas ofrecidas. Para que tenga
veritlcatlvo la Audienc:ia |ncidental se serialan las DlEZ HORAS DEL DlA DlEClSlETE DE
ABRlL DEL AND EN CURSO, misma que se seriala haste esa feeha atento a la carga de
treban de este Juzgado, sirvienclo de apoyo a le anterior per analogia el eriterio
sustentado per la Suprema Corte de Justicia de la Naclc')n, ban el rubre: AUDlENCl/-\,
SENALAM|ENTO TARDlO DE LA...", visible'en la pagina 2638, 5a Epoca, regiser
3279`91,, lnstancia: Segunda'Sala; Tomo LXlX del Semanario Judlclal de la Federaelén

Case 1:14-rnc-00280-P1 Document 2 Filed 08/29/14 Page 15 of 23‘

que dice: Es lnfundada la queja, porque el Juez de Distrito haya sedalado dla para la
celebracion de la audiencia eonstitucicnal, después de los treinta dias del en que se
admite la demanda, porque si bien es cierto que conforme al articulo 147 de la Ley de
Amparo, debe senalarse dentro del término expresade, también es verdad que dicho
precepto debe entenderse en terminos habiles, armonizandolo con las diticultades que en
la practice se presentan, ya que siendo muchos los negocios que se tramitan en los
Tribunales Federales, no es posible humanamente que se observe la ley en todos sus
detailes, de manera que si se trace ese senalamiento fuera del termino supradicho, no
puede decirse que se viola la ley, ni no se justitica que ese lejanc senalamientc, obedezca
a dole o parcialidad del juez..."; criteria que éste Juzgador hace suyo, para todos los
efee_tos' legales a que haya lugar. En preparacién de la confesional C_lTESE POR
BOLETlN JUDlClAL al C. FRANClSC HENRY MAR|E DE SMEDT para que eomparezca
ante este juzgado el dla y hara senalados a absolver las posiciones que se le articulara,
aperciblclo que de no comparecer sin justa cause sera declarado confesc de las que
previamente sean exhibidas y caliticadas de legales con apcyo en los articulos 309 y 322
del Cédigo Procesal Civil. En preparacion de las pruebas documentales marcadas con los
nurn"e`ros ll y lll girese atento oHcio al C_ DIRECTOR DEL REGlSTRO PUBLICO DE LA
PROP|EDAD Y DEL COMERClO DEL DISTRITO FEDERAL y PRESIDENTE DE LA
COl\/|lS|ON NAClONAL BANCARIA Y DE VALORES, para que se sirva informer a este
juzgado dentro del termino de ClNCO DlAS lo solicitado per la oferente, apercibido que de
no hacerlo se impondra come primera medida de apremio una multa por el equiva'lente a '
TRES lV|ll_ QUINlENTOS PESOS con fundamento en los articulos 61, 62`»Y'~73-`;D,§l-_
Cédlgo de Procedimientos Civiles. Asi mismo y en preparacién de las. p_rii;éb'a's,
documentales solicitadas con el inciso L) con los anexos e insertos necesarios'"|ilyrese
atenta CARTA ROGATOR|A A LQS CC. CONSUL DE M§XlCO EN NEW YO_RK,.
ESTADOS UNlDOS DE NORTEAl\/|ER|CA, LONDRES, lNGLATERRA y ZURlCH, SUlZA_
para que en auxilio de las labores de este juzgado se sirva girar atento oficio a los'lugares
solicitados por la oferente para que informen lo solicitado per la misma. Notifiquese.- 'Lo
proveyo y tirma el C, Juez Primero Familia_r ante la C. Secretaria de Acuerdos con quien
actua, autoriza y cia fe.~ » -~ ~ ~ R U B R l C A S --------------- .-.. -------
Y PARA LO QUE POR lVll MANDATO TENGA SU MAS /F§l-v‘qtmr,§g_<,¢_tCTO
CUMPLll\/l|ENTC, EN NOMBRE DE LA SOBERANlA JUDlCIAL, j-_Q§°,l§§@l~ll§l§€). A

 

 

  
    
  

 

TRAV§S DE LA PRESENTE CARTA ROGATORl/\ Y DE lVll PAR`l>['E»”:} fgSjg`P lCO_\§llJE
TAN, PRONTO COMO EL'PRESENTE ESTE EN SU PODER SE';§ %";§j'MANDAE:l_O
DlLlGENClAR EN SUS TERMlNOS, SEGURO DE lVll REC|P § l ' §N.'C/’l§ ;S
Al\l/-\LOGOS Y PARA CUANDO FUERE REQUERlDO. DADC l}:l'- ` . U ' E
lVlEXlCO, DlSTRlTO FEDERAL A LOS ClNCO DlAS DEL NlES DE \E`~Q (3 'NO
DOS l\/lll_ TREGE.- DOY FE. ~~~~~~~~~~~~~~~~~~~~~~ i»;l?'; 1 ¥¢'
~. - L~L~.-L\£¢x ‘
§§ t n w

/

EL C. SEC‘RE`§;\RIQ CONCILIADOR
AD

DEL JUZQ \ PR;MERO FAMIL]'.AR.
(EN CUMPLIMIE>NTD\Q)L ACUERDO GENERAL 38~41/2012)

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LIC. ERNEST 0 VILLA`R\REAL T§LLEZ.

   
  

   
  
 

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CIA MUJICA CASTILLO.

TAK/R3

 

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SR[A l¢A$$
EXP. 1391/09

Ot`lcie 261

 

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a 523 zian

MARlE DE SMEDT FRANClS HENRY
VS
BARBARA PHlLlPPA CLARE DAY

ORDlNARlO~ClVlL,»DlVORClO
EXPEDiENTE NUMERO: 1391/2009

PARA su DlLleENelAcloN

H. CONSEJERlA JURlDlCA DEL GOBIERNO DEL DISTRlTO FEDERAL.
P R E 8 E N T E

En cump|imiento a lo ordenade en audiencia de fecha
veinticuatre de enere del des mil trece, dictado en los autos del juicie al
rubro indicado, giro a Usted el presente oticio anexando la presente CARTA
ROGATOR|A, para el efecto de que proceda a la legaliza'cién de la flrma del
suscrito y hecho le anterior para que previo page de derechos de
aposti||amiente se remita a la Secretaria de Relaciones Exteriores, para

todos los efectos legales correspondientes.

Reitero a Usted las seguridades de mi atenta y distinguida

consideracién.

./

 
 
  

MEXICO, A):\DS DE FEBRERO DE 2013 \ `
EL C. SECRE\'\I\` ARJD CONCILIADOR '

DEL J`UZGAD'I\` A§;q\BIl\/I`ERO FAMILIAR. \_=“;
(EN cuMPLxMrENTo §chanee caNERALsMi/zm) \°" '»

0 FAM/L/u:»
LIC. ERNESTO VILLARREAL TELLEZ.

TAI{/R3

'Ca`s/e 1:14-mc-00280-P1 Document 2 Filed 08/29/14 Page 17 of 23

E$<hibii e

 

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AO 88B (Rev. 12/1 3)'Subpeena to Produce Documents, lnformation, or Objects or to Permit Inspection of Premises in a Civil Action

UNlTED STATES DISTRICT COURT

for the
Southern District of New Yerk

 

lN RE; LETTER RoeAroRY FoR lNTERNATioNAL
JuoielAL AsslsTANcE FRoM suPERioR couRT or=
Ju»sneE oF Mr-:xico errY, FE_DERAL cisrRicT
FAMiLY eouRT, lN THE MATTER or FRANels
HENRY MARu-: do sMEor v. BARBARA PHlLlPPA
eLARE DAY. )

SUBPOENA TO PR()DUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES [N A CIVIL ACTION

Civil Actien No. 14 MISC-

TO; David Zwirner Gal|ery
Attention: l\/|anaging Director, 525 West 19th Street, New York, NY 10011

 

(Name of person to whom this subpoena is directed)

Q{ Productz'on: Y()U ARE COMMANDED to produce at the time, date, and place set forth below the following
doeurnents, electronically stored infermation, or objects, and to permit inspection, copying, testing, or sampling of the
material: Pursuant to the Letter Rogatory.

 

Place: U.S. Atterney's Oftice, Southem District of NeW York Date and Time:
36 Chambers Street, 3rd Floor, NeW York, NY 10007

 

 

 

 

[] Inspecn‘on of Premz'ses: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the tirne, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: 1 Date and Time:

 

 

 

 

 

The followingprovisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule'45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
~ OR

 

 

Signature of Clerk or Depuly Clerk Attorney ’s signature

 

The narne, address, e-mail address, and telephone number of the attorney representing (name ofpar¢y) U.S.A. en behalf of

the superior court of Justioo of Moxioo citv. Fedoral pet Familv court ' , who issues Or requests this subpoena are

Andrew E. Krause, Assistant United States Attomey, U.S. Attorney’s Oftiee, Southern District of New York,
86 Chambers Str`eet, 3rd Floor, New York, NY 10007. Email: andrew.krause@usdej.gov. Tel.: 212-637-2769

 

No_tice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is Served on the person te whom
it is directed. Fed. R. Civ. P. 45(a)(4).

Case 1:14-mc-00280-P1 Doeu ment 2 Filed 08/29/14 Page 19 of 23
AO 88B (Rev. 12/13) Subpeena to Produee Documents, lnfermation, or Objects or to Permit Inspection of Premises in a Civil Actien (Page 2)

Civil Action No. 14 MlSC.

PRooF oF sERVICE
(leis section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

l received this subpoena for (name‘ofindividual and ritle, ifany)‘ -

 

0I1 (date)

[l l served the subpoena by delivering a copy to the named person as follows:

 

 

On (date) ; Ol‘

 

[J l returned the subpoena unexecuted because: `

 

 

Unless the subpoena Was issued en behalf of the United States, or one of its officers or agents, l have also
tendered to the witness the fees for one day’s attendanee, and the mileage allowed by law, in the amount of

$ .

My fees are $ for travel and $ for services, for a tetal_of $ , 0.00

l declare under penalty of perjury that this information is true.

Date:

 

Se)'ve)‘ ’s signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service, etc.:

Case 1:14-mc-00280-P1 Document 2 Filed 08/29/14 Page 20 of 23

AO'BSB (Rev. 12/13) Subpoena to Produce Documents, Int`ormation, or Objects or to Permit Inspection ofPremises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (e), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed or
regularly transacts business in person; or
(B) within the state where the person resides, is employed or regularly
transacts business in person-, if the person
(i) is a party or a party’s oflicer; or
(ii) is commanded to attend a trial and would not incur substantial
expense

(2) For Other Discovely. A subpoena may command:

(A) production of documents, electronically stored information or
tangible things at a place within 100 miles of where the person resides, is`
employed or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected

(d) Frotecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction-which may include
lost earnings and reasonable attomey’s fees-on a party or attorney who
fails to comply.

(2) Commana' to Produce Materials or Permit Iuspectian.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored infonnation, or tangible things, or to
permit the inspection ofpremises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial

_ (B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting copying, testing or
sampling any or all of the materials or to inspecting the premises-_or to
producing electronically stored information in the form or forms requested
The objection must be served before the earlier of the time specified for
compliance or 14 days alter the subpoena is served lf an objection is made,
the following rules apply:

(i) At any timc, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection

(ii) 'Ihese acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance

{3) Quashiug or Modg`)‘_`ying a Subpoena.
(A) When Requirea'. On timely motion, the court for the district where
compliance is required must quash cr modify a subpoena that:
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(0);
§ (iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden
(B) When Permitted To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required_may, on
motion, quash or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research,
development or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specijj)ing Conditions as an AIternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated

(e) Duties in Responding to a Subpeena.

(1) Producing'Documenls or Electronically Slored Information. Thcse
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they arc kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand

(B) F arm for Producing Electronically Stored lnformation Not Specijied.
If a subpoena does not specify a form for producing electronically stored
information the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information P)'oduced in Only One Form. The
person responding need not produce the same electronically stored
information,in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
nom sources that the person identities as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations ofRule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) lnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as vial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications or
tangible things in a manner that, without revealing information itself
privileged or protected will enable the parties to assess the claim

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. Aiter being
notified a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of thc claim. The person who
produced the information must preserve the information until the claim is
resolved '

(g) Contempt.

The court for the district where compliance is requircd-and also, after a
motion is transferred the issuing court-may hold in contempt a person
who, having been served fails without adequate excuse to obey the
subpoena or an' order related to it. .

 

 

Fer access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 

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Exhibit C

 

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UNlTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

IN RE: : EX PARTE ORDER

LETTER ROGATORY FOR : 14 Misc. `
INTERNATIONAL IUDICIAL '

ASSISTANCE FROM THE SUPER_`[OR .

COURT OF .TUSTICE OF MEXICO CITY, :

FEDERAL DISTRICT FAMILY COURT, :

IN THE MATTER OF FRANCIS HENRY :

MARIE DE Sl\/[EDT v. BARBARA '
PHlLlPPA CLARE_DAY.

 

WHEREAS, the United States of America, by its attorney, Preet Bharara, United
States Attorney for the Southern District of New York, on behalf of the Superior Court of Justice
of Mexico City, Federal District Family Court, is seeking to obtain information from the David
Zwirner Gallery _(the “Gallery”), for use in connection with a judicial proceeding pending in that
court captioned “Francis Henry Marie de Smedt v. Barbara Philippa Clare Day;”

NOW THEREFORE, it is hereby_ORDERED, pursuant to 28 U.S.C. § 1782(a)
and Rule 28(a) of the Federal Rules of Civil Procedure, that Andrew E. Krause, Assistant United
States Attorney, Southern District of New York, be and hereby is appointed as Commissioner, to
take such steps as are necessary to obtain information from the Gallery; and to submit said
information to the United States Attorney for the Southem District of New York for transmission

to the United States Department of Justice or its designee.

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IT IS FURTHER ORD_ERED, that the United States Attorney's Ofi`rce shall serve
the Gallery with a copy of this Order and the accompanying documents

Dated: New York, NeW.York
' August , 2014

 

UNlTED sTATES DISTRICT JUDGE
PART'I

